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         TAIRA JAQUELINE RODRIGUEZ                                         IN THE 11TH JUDICIAL CIRCUIT COURT
         GOMEZ                                                             IN AND FOR MIAMI-DADE COUNTY,
                                                                           FLORIDA

              PLAINTIFF,

         V.                                                                CASE NO. 2021-005705-CA-01

         TRANSFORM SR LLC                                                  FLORIDA BAR NO. 120275

             DEFENDANT.
        ______________________________________/


                                                 COMPLAINT FOR DAMAGES

               COMES NOW, the Plaintiff, TAIRA JAQUELINE RODRIGUEZ GOMEZ, by and

        through the undersigned counsel, and hereby sues Defendant, TRANSFORM SR LLC, for

        damages and alleges as follows:

               1.        This is an action for damages that exceed the jurisdictional amount of Thirty

        Thousand and One Dollars ($30,001.00), exclusive of interest, costs and attorney’s fees, thereby

        invoking the subject matter jurisdiction of this Court.

               2.        At all times material to this Complaint, Plaintiff, TAIRA JAQUELINE

        RODRIGUEZ GOMEZ, was a resident of Miami- Dade, Florida.

               3.        At all times material to this Complaint, Defendant, TRANSFORM SR LLC, was a

        foreign profit corporation authorized to do and was doing business in the State of Florida, more

        specifically in Miami-Dade County.

               4.        Venue is proper in Miami-Dade County, Florida as the incident giving rise to this

        complaint occurred in Miami-Dade County, Florida.




                                                              PACIN LEVINE, PA
                    7925 NW 12th Street, Suite 225, Miami, Florida 33126 • Telephone: (305) 760-9085 • Facsimile: (786) 800-3611
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                                              GENERAL ALLEGATIONS

          5.        At all times material hereto, Defendant, TRANSFORM SR LLC, owned, operated,

  controlled, managed, maintained and/or was legally responsible for the subject premises located

  at or near 20701 SW 112th Ave Miami Florida 33189.

          6.        Defendant, TRANSFORM SR LLC, was responsible for maintaining the premises

  in a clean and safe condition for patrons

          7.        At all times material hereto, Plaintiff, TAIRA JAQUELINE RODRIGUEZ

  GOMEZ, was a lawful business invitee of the subject premises.

          8.         On September 3, 2019, Plaintiff, TAIRA JAQUELINE RODRIGUEZ GOMEZ,

  while walking within the subject premises, slipped and fell on a dangerous condition, to wit: debris

  left on the floor of the store where patrons walk, resulting in severe and permanent injuries and

  substantial medical expenses.

          9.         The dangerous condition existed for a sufficient length of time so that Defendant

  knew and/or should have known of it.

                                           COUNT I
                            (NEGLIGENCE/PREMISES LIABILITY AGAINST
                                DEFENDANT, TRANSFORM SR LLC)

          10.       Plaintiff adopts and re-alleges the allegations contained in paragraphs one (1)

  through nine (9) of the Complaint as if fully incorporated herein and further states:

          11.       Defendant, TRANSFORM SR LLC, by and through its employees, servants, agents

  and/or representatives acting within the course and scope of their employment, owed a duty to

  maintain its premises in a reasonably safe condition so as to prevent injury to members of the

  public, including and in particular, Plaintiff, TAIRA JAQUELINE RODRIGUEZ GOMEZ.




                                                         PACIN LEVINE, PA
               7925 NW 12th Street, Suite 225, Miami, Florida 33126 • Telephone: (305) 760-9085 • Facsimile: (786) 800-3611
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          12.       Defendant, TRANSFORM SR LLC, by and through its employees, servants, agents

  and/or representatives acting within the course and scope of their employment, was negligent

  and/or breached its duty of care to the Plaintiff by committing the following acts and/or omissions,

  including but not limited to:

               a. Failing to maintain the subject premises in a reasonably safe condition;

               b. Failing to adequately mark, and/or identify dangerous or hazardous conditions,

                    which it knew or should have known existed in the exercise of reasonable care;

               c. Failing to repair and/or remedy a dangerous condition;

               d.    Failing to remedy a dangerous condition, which was known by the Defendant

                    and/or should have been known by the exercise of reasonable care;

               e.    Failing to warn of the hazardous condition;

               f. Additional acts or omissions constituting a breach of the duty to use reasonable care

                    and acts of negligence which will be revealed through discovery.

         13.        Defendant knew, or should have known, that there was a dangerous condition on

   or about the premises both because it had existed for a sufficient length of time and/or was created

   by the Defendant and/or its agents.

         14.        Defendant knew, or, in the exercise of reasonable care should have known, of the

   condition, or Defendant created the condition either through the acts of its employees, in its

   negligent maintenance and/or operation, and Defendant should have corrected the condition or

   warned Plaintiff of its existence.

         15.        As a direct, proximate and reasonably foreseeable result of the negligence of the

   Defendant, TRANSFORM SR LLC, Plaintiff, TAIRA JAQUELINE RODRIGUEZ GOMEZ,

   suffered bodily injury and resulting pain and suffering, disability, inconvenience, scarring and



                                                         PACIN LEVINE, PA
               7925 NW 12th Street, Suite 225, Miami, Florida 33126 • Telephone: (305) 760-9085 • Facsimile: (786) 800-3611
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   disfigurement, mental anguish, loss of capacity for the enjoyment of life, lost wages, the loss of

   future earning capacity. Said losses are permanent and continuing and the Plaintiff will suffer

   from said losses in the future. Also, Plaintiff incurred and will continue to incur medical,

   rehabilitation and/or related expenses.



         WHEREFORE, Plaintiff, TAIRA JAQUELINE RODRIGUEZ GOMEZ, by and through

  her undersigned counsel, prays for a judgment for damages against Defendant and any other and

  further relief as this Court deems just and proper.




                                                       PACIN LEVINE, PA
             7925 NW 12th Street, Suite 225, Miami, Florida 33126 • Telephone: (305) 760-9085 • Facsimile: (786) 800-3611
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                                                DEMAND FOR JURY TRIAL

          The Plaintiff hereby demands a trial by jury on all counts so triable as a matter of right

  together with all interrelated issues.


                                                             Pacin Levine, P.A.
                                                             Attorneys for Plaintiff
                                                             1150 NW 72nd Avenue, Suite 600
                                                             Miami, FL 33126
                                                             (305) 760-9085- Telephone
                                                             (786) 800-3611- Facsimile




                                                  By:        Signed electronically to avoid delay
                                                             Natalie A. Martinez, Esq.
                                                             Florida Bar No. 1003311
                                                             Pleadings Email: bipleadings@pl-law.com




                                                       PACIN LEVINE, PA
             7925 NW 12th Street, Suite 225, Miami, Florida 33126 • Telephone: (305) 760-9085 • Facsimile: (786) 800-3611
